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                             EXHIBIT C
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Re: Daniel Charles Ball

To Whom it May Concern:

I have known Daniel his entire life. He has been an asset to the community. He has always been a
good Christian boy, who is a loving individual and enjoys doing things for other people. I know him
as being raised in a good Christian home with loving, caring parents who were and continue to be
involved in his life. This inspired him to be the individual I know who is the type who stands on the
bus to allow the pregnant woman to sit, the one who stops whatever he is doing to help the elderly
across the road, and the individual who mows someone yard because they are not able.. He is a true
country gentleman and a true pleasure to be amund.

Daniel is my nephew, but that is not why I say all this. As many of us know, just because one is family
does not mean that we get along with them. That is not the case with Daniel. From childhood, he has
had a very loving outlook on family and life. He wants the best for all those around him and he helps
them achieve it to the best of his ability. His heart operates out of love and does what is for the greatest
good. This really shines in his fatherhood. He is such a phenomenal Father. He is so loving, caring,
nurturing, present with his son. His son adores and loves him very much. Especially with his sons
disabilities, he is even more patient and gives him more love and time thats needed. It makes me beam
with joy to see the interaction the two of them have and their relationship.

In Summary, Daniel has a heart of gold that strives to live the Christian way. He is an outstanding
individual who needs support like he gives others in their times of need. I stand behin<il him for who he
is and am proud of the man and Father he has become. He is an asset to the any community he chooses
to live in and this world we live in.

Thank you for the oppbrtunity for me to share,


Cheri Baker
Aunt of Daniel Charles Ball
